              Case 07-10381-SSM                           Doc 1       Filed 02/21/07 Entered 02/21/07 16:58:59                                            Desc Main
                                                                     Document      Page 1 of 10
Official Form 1 (10/06)
                                        United States Bankruptcy Court
                                                  Eastern District of Virginia                                                                      Voluntary Petition
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 Name of Debtor (if individual, enter Last, First, Middle):                                     Name of Joint Debtor (Spouse) (Last, First, Middle):
  Campbell-Thomas, Michelle Naomi


All Other Names used by the Debtor in the last 8 years                                          All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                     (include married, maiden, and trade names):




Last four digits of Soc. Sec./Complete EIN or other Tax ID No. (if more than one, state all): Last four digits of Soc. Sec./Complete EIN or other Tax ID No. (if more than one, state all):
  xxx-xx-7401
Street Address of Debtor (No. and Street, City, and State):                                     Street Address of Joint Debtor (No. and Street, City, and State):
  43118 Rocky Ridge Ct.,
  Leesburg, VA
                                                                               ZIP Code                                                                                     ZIP Code
                                                                           20176
County of Residence or of the Principal Place of Business:                                      County of Residence or of the Principal Place of Business:
  Loudoun
Mailing Address of Debtor (if different from street address):                                   Mailing Address of Joint Debtor (if different from street address):


                                                                               ZIP Code                                                                                     ZIP Code

Location of Principal Assets of Business Debtor
(if different from street address above):


                  Type of Debtor                                  Nature of Business                                  Chapter of Bankruptcy Code Under Which
               (Form of Organization)                                (Check one box)                                     the Petition is Filed (Check one box)
                  (Check one box)                           Health Care Business                           Chapter 7
                                                            Single Asset Real Estate as defined            Chapter 9                        Chapter 15 Petition for Recognition
    Individual (includes Joint Debtors)                     in 11 U.S.C. § 101 (51B)                                                        of a Foreign Main Proceeding
    See Exhibit D on page 2 of this form.                                                                  Chapter 11
                                                            Railroad
                                                                                                           Chapter 12                       Chapter 15 Petition for Recognition
    Corporation (includes LLC and LLP)                      Stockbroker
                                                                                                           Chapter 13                       of a Foreign Nonmain Proceeding
                                                            Commodity Broker
    Partnership
                                                            Clearing Bank
    Other (If debtor is not one of the above entities,      Other                                                                      Nature of Debts
    check this box and state type of entity below.)                                                                                     (Check one box)
                                                                  Tax-Exempt Entity
                                                                 (Check box, if applicable)                Debts are primarily consumer debts,                  Debts are primarily
                                                            Debtor is a tax-exempt organization            defined in 11 U.S.C. § 101(8) as                     business debts.
                                                            under Title 26 of the United States            "incurred by an individual primarily for
                                                            Code (the Internal Revenue Code).              a personal, family, or household purpose."

                               Filing Fee (Check one box)                                       Check one box:                   Chapter 11 Debtors
    Full Filing Fee attached                                                                           Debtor is a small business debtor as defined in 11 U.S.C. § 101(51D).
                                                                                                       Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
    Filing Fee to be paid in installments (applicable to individuals only). Must                Check if:
    attach signed application for the court's consideration certifying that the debtor
    is unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                   Debtor’s aggregate noncontingent liquidated debts (excluding debts owed
                                                                                                       to insiders or affiliates) are less than $2 million.
    Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                Check all applicable boxes:
    attach signed application for the court's consideration. See Official Form 3B.                     A plan is being filed with this petition.
                                                                                                       Acceptances of the plan were solicited prepetition from one or more
                                                                                                       classes of creditors, in accordance with 11 U.S.C. § 1126(b).
Statistical/Administrative Information                                                                                                   THIS SPACE IS FOR COURT USE ONLY
   Debtor estimates that funds will be available for distribution to unsecured creditors.
    Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
    there will be no funds available for distribution to unsecured creditors.
Estimated Number of Creditors
        1-           50-         100-         200-       1000-     5001-       10,001-        25,001-   100,001-     OVER
        49           99          199          999        5,000    10,000       25,000         50,000    100,000     100,000


Estimated Assets
        $0 to                      $10,001 to               $100,001 to              $1,000,001 to             More than
        $10,000                    $100,000                 $1 million               $100 million              $100 million

Estimated Liabilities
        $0 to                      $50,001 to               $100,001 to              $1,000,001 to             More than
        $50,000                    $100,000                 $1 million               $100 million              $100 million
            Case 07-10381-SSM                      Doc 1        Filed 02/21/07 Entered 02/21/07 16:58:59                                          Desc Main
                                                               Document      Page 2 of 10
Official Form 1 (10/06)                                                                                                                                   FORM B1, Page 2
                                                                                     Name of Debtor(s):
Voluntary Petition                                                                     Campbell-Thomas, Michelle Naomi
(This page must be completed and filed in every case)
                                All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet)
Location                                                                     Case Number:                         Date Filed:
Where Filed: - None -
Location                                                                             Case Number:                                   Date Filed:
Where Filed:
          Pending Bankruptcy Case Filed by any Spouse, Partner, or Affiliate of this Debtor (If more than one, attach additional sheet)
Name of Debtor:                                                     Case Number:                          Date Filed:
 - None -
District:                                                                            Relationship:                                  Judge:

                                      Exhibit A                                                                                Exhibit B
                                                                                        (To be completed if debtor is an individual whose debts are primarily consumer debts.)
  (To be completed if debtor is required to file periodic reports (e.g.,               I, the attorney for the petitioner named in the foregoing petition, declare that I
  forms 10K and 10Q) with the Securities and Exchange Commission                       have informed the petitioner that [he or she] may proceed under chapter 7, 11,
  pursuant to Section 13 or 15(d) of the Securities Exchange Act of 1934               12, or 13 of title 11, United States Code, and have explained the relief available
  and is requesting relief under chapter 11.)                                          under each such chapter. I further certify that I delivered to the debtor the notice
                                                                                       required by 11 U.S.C. §342(b).

       Exhibit A is attached and made a part of this petition.                         X     /s/ Nathan Fisher                                 February 21, 2007
                                                                                           Signature of Attorney for Debtor(s)                     (Date)
                                                                                             Nathan Fisher

                                                                               Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
      Yes, and Exhibit C is attached and made a part of this petition.
      No.

                                                                          Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
       Exhibit D completed and signed by the debtor is attached and made a part of this petition.
 If this is a joint petition:
       Exhibit D also completed and signed by the joint debtor is attached and made a part of this petition.

                                                     Information Regarding the Debtor - Venue
                                                               (Check any applicable box)
                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180
                   days immediately preceding the date of this petition or for a longer part of such 180 days than in any other District.
                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.
                   Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in
                   this District, or has no principal place of business or assets in the United States but is a defendant in an action or
                   proceeding [in a federal or state court] in this District, or the interests of the parties will be served in regard to the relief
                   sought in this District.
                                         Statement by a Debtor Who Resides as a Tenant of Residential Property
                                                              (Check all applicable boxes)
                   Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                      (Name of landlord that obtained judgment)




                                      (Address of landlord)

                   Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be
                   permitted to cure the entire monetary default that gave rise to the judgment for possession, after the judgment for
                   possession was entered, and
                   Debtor has included in this petition the deposit with the court of any rent that would become due during the 30-day period
                   after the filing of the petition.
            Case 07-10381-SSM                   Doc 1       Filed 02/21/07 Entered 02/21/07 16:58:59                                      Desc Main
                                                           Document      Page 3 of 10
Official Form 1 (10/06)                                                                                                                          FORM B1, Page 3
                                                                                  Name of Debtor(s):
Voluntary Petition                                                                  Campbell-Thomas, Michelle Naomi
(This page must be completed and filed in every case)
                                                                             Signatures
                Signature(s) of Debtor(s) (Individual/Joint)                                         Signature of a Foreign Representative
                                                                                    I declare under penalty of perjury that the information provided in this petition
     I declare under penalty of perjury that the information provided in            is true and correct, that I am the foreign representative of a debtor in a foreign
     this petition is true and correct.                                             proceeding, and that I am authorized to file this petition.
     [If petitioner is an individual whose debts are primarily consumer             (Check only one box.)
     debts and has chosen to file under chapter 7] I am aware that I may
                                                                                       I request relief in accordance with chapter 15 of title 11. United States Code.
     proceed under chapter 7, 11, 12, or 13 of title 11, United States                 Certified copies of the documents required by 11 U.S.C. §1515 are attached.
     Code, understand the relief available under each such chapter, and
     choose to proceed under chapter 7.                                                Pursuant to 11 U.S.C. §1511, I request relief in accordance with the chapter
     [If no attorney represents me and no bankruptcy petition preparer                 of title 11 specified in this petition. A certified copy of the order granting
     signs the petition] I have obtained and read the notice required                  recognition of the foreign main proceeding is attached.
     by 11 U.S.C. §342(b).
     I request relief in accordance with the chapter of title 11, United
                                                                                  X
                                                                                      Signature of Foreign Representative
     States Code, specified in this petition.

 X    /s/ Michelle Naomi Campbell-Thomas                                              Printed Name of Foreign Representative
     Signature of Debtor Michelle Naomi Campbell-Thomas
                                                                                      Date
 X
     Signature of Joint Debtor                                                            Signature of Non-Attorney Bankruptcy Petition Preparer

                                                                                      I declare under penalty of perjury that: (1) I am a bankruptcy
     Telephone Number (If not represented by attorney)                                petition preparer as defined in 11 U.S.C. § 110; (2) I prepared this
                                                                                      document for compensation and have provided the debtor with a
     February 21, 2007                                                                copy of this document and the notices and information required
     Date                                                                             under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules or
                                                                                      guidelines have been promulgated pursuant to 11 U.S.C. § 110(h)
                            Signature of Attorney                                     setting a maximum fee for services chargeable by bankruptcy
                                                                                      petition preparers, I have given the debtor notice of the maximum
 X    /s/ Nathan Fisher                                                               amount before preparing any document for filing for a debtor or
     Signature of Attorney for Debtor(s)                                              accepting any fee from the debtor, as required in that section.
                                                                                      Official Form 19B is attached.
      Nathan Fisher 37161
     Printed Name of Attorney for Debtor(s)
                                                                                      Printed Name and title, if any, of Bankruptcy Petition Preparer
      Nathan Fisher
     Firm Name
      3977 Chain Bridge Rd., #2                                                       Social Security number (If the bankrutpcy petition preparer is not
      Fairfax, VA 22030                                                               an individual, state the Social Security number of the officer,
                                                                                      principal, responsible person or partner of the bankruptcy petition
                                                                                      preparer.)(Required by 11 U.S.C. § 110.)
     Address


      (703) 691-1642
     Telephone Number
                                                                                      Address
     February 21, 2007
     Date
                                                                                  X
               Signature of Debtor (Corporation/Partnership)
                                                                                      Date
     I declare under penalty of perjury that the information provided in
     this petition is true and correct, and that I have been authorized to            Signature of Bankruptcy Petition Preparer or officer, principal,
     file this petition on behalf of the debtor.                                      responsible person,or partner whose Social Security number is
     The debtor requests relief in accordance with the chapter of title 11,           provided above.
     United States Code, specified in this petition.
                                                                                      Names and Social Security numbers of all other individuals who
                                                                                      prepared or assisted in preparing this document unless the
 X                                                                                    bankruptcy petition preparer is not an individual:
     Signature of Authorized Individual

     Printed Name of Authorized Individual
                                                                                      If more than one person prepared this document, attach additional
                                                                                      sheets conforming to the appropriate official form for each person.
     Title of Authorized Individual
                                                                                      A bankruptcy petition preparer’s failure to comply with the
                                                                                      provisions of title 11 and the Federal Rules of Bankruptcy
     Date
                                                                                      Procedure may result in fines or imprisonment or both 11 U.S.C.
                                                                                      §110; 18 U.S.C. §156.
            Case 07-10381-SSM                             Doc 1          Filed 02/21/07 Entered 02/21/07 16:58:59          Desc Main
                                                                        Document      Page 4 of 10


Official Form 1, Exhibit D (10/06)
                                                                  United States Bankruptcy Court
                                                                            Eastern District of Virginia
 In re       Michelle Naomi Campbell-Thomas                                                                Case No.
                                                                                             Debtor(s)     Chapter    13




                   EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                                   CREDIT COUNSELING REQUIREMENT
       Warning: You must be able to check truthfully one of the five statements regarding credit
counseling listed below. If you cannot do so, you are not eligible to file a bankruptcy case, and the court
can dismiss any case you do file. If that happens, you will lose whatever filing fee you paid, and your
creditors will be able to resume collection activities against you. If your case is dismissed and you file
another bankruptcy case later, you may be required to pay a second filing fee and you may have to take
extra steps to stop creditors' collection activities.
        Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete
and file a separate Exhibit D. Check one of the five statements below and attach any documents as directed.

         n 1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, and I have
a certificate from the agency describing the services provided to me. Attach a copy of the certificate and a copy
of any debt repayment plan developed through the agency.

             o
           2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit
counseling agency approved by the United States trustee or bankruptcy administrator that outlined the
opportunities for available credit counseling and assisted me in performing a related budget analysis, but I do
not have a certificate from the agency describing the services provided to me. You must file a copy of a
certificate from the agency describing the services provided to you and a copy of any debt repayment plan
developed through the agency no later than 15 days after your bankruptcy case is filed.
             o
          3. I certify that I requested credit counseling services from an approved agency but was unable to
obtain the services during the five days from the time I made my request, and the following exigent
circumstances merit a temporary waiver of the credit counseling requirement so I can file my bankruptcy case
now. [Must be accompanied by a motion for determination by the court.][Summarize exigent circumstances
here.]
       If the court is satisfied with the reasons stated in your motion, it will send you an order approving
your request. You must still obtain the credit counseling briefing within the first 30 days after you file
your bankruptcy case and promptly file a certificate from the agency that provided the briefing, together
with a copy of any debt management plan developed through the agency. Any extension of the 30-day
deadline can be granted only for cause and is limited to a maximum of 15 days. A motion for extension
must be filed within the 30-day period. Failure to fulfill these requirements may result in dismissal of
your case. If the court is not satisfied with your reasons for filing your bankruptcy case without first
receiving a credit counseling briefing, your case may be dismissed.
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Official Form 1, Exh. D (10/06) - Cont.

              o
          4. I am not required to receive a credit counseling briefing because of: [Check the applicable
statement.] [Must be accompanied by a motion for determination by the court.]
                o Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or
       mental deficiency so as to be incapable of realizing and making rational decisions with respect to
       financial responsibilities.);
                o Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being
       unable, after reasonable effort, to participate in a credit counseling briefing in person, by telephone, or
       through the Internet.);
                o Active military duty in a military combat zone.

              o
         5. The United States trustee or bankruptcy administrator has determined that the credit counseling
requirement of 11 U.S.C. § 109(h) does not apply in this district.
              I certify under penalty of perjury that the information provided above is true and correct.

 Signature of Debtor:                              /s/ Michelle Naomi Campbell-
                                                   Thomas
                                                   Michelle Naomi Campbell-Thomas
 Date:         February 21, 2007




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B 201 (04/09/06)

                                                          UNITED STATES BANKRUPTCY COURT
                                                           EASTERN DISTRICT OF VIRGINIA

                                NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                                              OF THE BANKRUPTCY CODE

                      In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available from
             credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of bankruptcy proceedings
             you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General may examine all
             information you supply in connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and not
             easily described. Thus, you may wish to seek the advice of an attorney to learn of your rights and responsibilities should you
             decide to file a petition. Court employees cannot give you legal advice.

1. Services Available from Credit Counseling Agencies
          With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling and
provides assistance in performing a budget analysis. The briefing must be given within 180 days before the bankruptcy filing. The
briefing may be provided individually or in a group (including briefings conducted by telephone or on the Internet) and must be
provided by a nonprofit budget and credit counseling agency approved by the United States trustee or bankruptcy administrator. The
clerk of the bankruptcy court has a list that you may consult of the approved budget and credit counseling agencies.

          In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

             Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total Fee $299)
          1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors
whose debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted to
proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in some cases,
creditors have the right to file a motion requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to
decide whether the case should be dismissed.
          2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to
take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.
          3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it does, the
purpose for which you filed the bankruptcy petition will be defeated.
          4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still
be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not properly listed
in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or aircraft while
intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty, or theft, or from
a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.

             Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee,
             $39 administrative fee: Total fee $274)
          1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments
over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the
Bankruptcy Code.
          2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them,
using your future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.
          3. After completing the payments under your plan, your debts are generally discharged except for domestic support
obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly
listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.



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             Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
        Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.


             Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)
         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the United
States Trustee, the Office of the United States Attorney, and other components and employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this information is not
filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local rules of the court.

                                                                               Certificate of Attorney
             I hereby certify that I delivered to the debtor this notice required by § 342(b) of the Bankruptcy Code.

 Nathan Fisher                                                                               X /s/ Nathan Fisher                      February 21, 2007
Printed Name of Attorney                                                                       Signature of Attorney                  Date
Address:
3977 Chain Bridge Rd., #2
Fairfax, VA 22030
(703) 691-1642

                                                                                Certificate of Debtor
             I (We), the debtor(s), affirm that I (we) have received and read this notice.

 Michelle Naomi Campbell-Thomas                                                              X /s/ Michelle Naomi Campbell-Thomas February 21, 2007
 Printed Name(s) of Debtor(s)                                                                  Signature of Debtor                Date

 Case No. (if known)                                                                         X
                                                                                                 Signature of Joint Debtor (if any)   Date




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                                                  United States Bankruptcy Court
                                                        Eastern District of Virginia
In re           Michelle Naomi Campbell-Thomas                                                      Case No.
                                                                                           ,
                                                                           Debtor
                                                                                                    Chapter                   13



                                          DECLARATION OF DIVISIONAL VENUE

  The debtor's domicile, residence, principal place of business or principal assets were located for the greater part of the 180 days
  preceding the filing of the bankruptcy petition in the indicated city or county [check one box only]:

  Alexandria Division                      Richmond Division                 Norfolk Division                  Newport News Division
   Cities:                                  Cities:                           Cities:                           Cities:
                 Alexandria-510                    Richmond (city)-760                Norfolk-710                    Newport News-700
                 Fairfax-600                       Colonial Heights-570               Cape Charles-535               Hampton-650
                 Falls Church-610                  Emporia-595                        Chesapeake-550                 Poquoson-735
                 Manassas-683                      Fredericksburg-630                 Franklin-620                   Williamsburg-830
                 Manassas Park-685                 Hopewell-670                       Portsmouth-740            Counties:
    Counties:                                      Petersburg-730                     Suffolk-800                    Gloucester-073
                 Arlington-013              Counties:                                 Virginia Beach-810             James City-095
                 Fairfax-059                       Amelia-007                  Counties:                             Mathews-115
                 Fauquier-061                      Brunswick-025                      Accomack-001                   York-199
                 Loudoun-107                       Caroline-033                       Isle of Wight-093
                 Prince William-153                Charles City-036                   Northampton-131
                 Stafford-179                      Chesterfield-041                   Southampton-175
                                                   Dinwiddie-053
                                                   Essex-057
                                                   Goochland-075
                                                   Greensville-081
                                                   Hanover-085
                                                   Henrico-087
                                                   King and Queen-097
                                                   King George-099
                                                   King William-101
                                                   Lancaster-103
                                                   Lunenburg-111
                                                   Mecklenburg-117
                                                   Middlesex-119
                                                   New Kent-127
                                                   Northumberland-133                      February 21, 2007
                                                   Nottoway-135
                                                                                    Date:__________________________
                                                   Powhatan-145
                                                   Prince Edward-147
                                                   Prince George-149                /s/ Nathan Fisher
                                                   Richmond (county)-159
                                                                                    _______________________________________
                                                   Spotsylvania-177
                                                                                    Signature of Attorney
                                                                                    Nathan Fisher 37161
                                                   Surry-181
                                                   Sussex-183
                                                   Westmoreland-193
            There is a bankruptcy case concerning debtor's affiliate,
            general partner, or partnership pending in this Division.

   Ver. 8/22/00
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                        ADT Security Systems
                        c/o Collectech
                        P.O. Box 361567
                        Columbus, OH 43236


                        America's Servicing Company
                        7495 New Horizon Way
                        Frederick, MD 21703


                        Audio Clinic
                        ACI Home Theater
                        905 Bonifant Street
                        Cranston, RI 02910


                        Commonwealth Emergency Phys.
                        P.O. Box 13700-1369
                        Philadelphia, PA 19191


                        Directv
                        P.O. Box 78626
                        Phoenix, AZ 85062


                        Fairfax County
                        Dept. of Tax Administration
                        P.O. Box 10200
                        Fairfax, VA 22035-0200


                        Fairfax Radiological Cons.
                        2722 Merrilee Drive, Ste. 230
                        Fairfax, VA 22031


                        Internal Revenue Service
                        Philadelphia, PA 19255



                        IRS Special Procedures
                        P.O. Box 10025
                        Richmond, VA 23240


                        Lansdowne on the Potomac
                        c/o Community Management
                        P.O. Box 10821
                        Chantilly, VA 20153
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                    Loudoun County
                    Treasurer
                    P.O. Box 347
                    Leesburg, VA 20178


                    Nationwide Credit
                    P.O. Box 740640
                    Atlanta, GA 30374-0640


                    Ocwen
                    1675 Palm Beach Lakes Blvd.
                    West Palm Beach, FL 33401


                    Office of the U.S. Trustee
                    115 South Union St., Ste. 210
                    Alexandria, VA 22314


                    Quest Diagnostics
                    P.O. Box 64797
                    Baltimore, MD 21264-4797


                    Samuel I. White, PC
                    209 Business Park Drive
                    Virginia Beach, VA 23462


                    Southern Polytech State
                    c/o ACS
                    P.O. Box 3295
                    Milwaukee, WI 53201


                    Through the Garden
                    263 Chipley School Road
                    Harpers Ferry, WV 25425


                    Virginia Dept. of Taxation
                    P.O. Box 2369
                    Richmond, VA 23218


                    Virginia Dept. of Taxation
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